Case 3:05-bk-03817-JAF Doc 14893-3 Filed 01/26/07 Pagei1of2

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
In re: ) Chapter 11
) CASE NO. 05-03817-3F 1
WINN-DIXIE STORES, INC., e¢ al. ) (Jointly Administered)
) Judge Jerry A. Funk
Debtors. )
)

FLORIDA TAX COLLECTORS’ NOTICE OF APPEAL

The Florida Tax Collectors! (“FTC”), creditors in these proceedings, appeal under 28
U.S.C. § 158(a) from the Order Granting in Part and Denying in Part Florida Tax Collectors’
Motion to Dismiss Debtors’ Objection to Florida Tax Claims and Motion for Order Determining
Tax Liabilities entered in these proceedings on the 19th day of January, 2007. The names of all
parties to the Order appealed from and the names, addresses, and telephone numbers of their

respective attorneys are as follows:

Party Attorney
Winn-Dixie Stores, Inc. and Skadden, Arps, Slate, Meagher & Flom, LLP
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Smith Hulsey & Busey
Stephen D. Busey, Esq.

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p: 904-359-7700

' The “Florida Tax Collectors” consist of the tax collectors for each of the following counties within the State of
Florida: Alachua, Baker, Bay, Bradford, Brevard, Broward, Charlotte, Citrus, Clay, Collier, Columbia, DeSoto,
Flagler, Gadsden, Hardee, Hendry, Hernando, Highlands, Hillsborough, Indian River, Jackson, Jefferson, Lake, Lee,
Leon, Levy, Madison, Manatee, Marion, Martin, Miami-Dade, Monroe, Nassau, Okaloosa, Okeechobee, Orange,
Osceola, Palm Beach, Pasco, Pinellas, Polk, Putnam, Santa Rosa, Sarasota, Seminole, St. Johns, St. Lucie, Sumter,
Suwannee, Taylor, Volusia, Wakulla, Walton and Washington.

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Case 3:05-bk-03817-JAF Doc 14893-3 Filed 01/26/07 Page 2 of 2

Florida Tax Collectors

United States Trustee

Official Committee of
Unsecured Creditors

Dated: January 26, 2007

Brian T. Hanlon, Esq.

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Brian T. Hanlon, Esq.

Office of the Tax Collector

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By:__/s/ Brian T. Hanlon
Co-Counsel for Florida
Tax Collectors

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Objection to Claim\Notice of Appeal.doc
